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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  (BROOKLYN)


   IN RE: EXACTECH POLYETHYLENE                          )   MDL No. 3044 (NGG) (MMH)
   ORTHOPEDIC PRODUCTS LIABILITY                         )
   LITIGATION                                            )
                                                         )   Case No.: 1:22-md-3044-NGG-MMH
                                                         )
                                                         )   District Judge Nicholas G. Garaufis
                                                         )   Magistrate Judge Marcia M. Henry
                                                         )
   THIS DOCUMENT RELATES TO:
   ALL CASES AGAINST TPG DEFENDANTS


         DECLARATION OF MARK PREMO-HOPKINS, P.C., IN SUPPORT OF
     DEFENDANTS TPG INC.; OSTEON HOLDINGS, INC.; OSTEON MERGER SUB,
   INC.; AND OSTEON INTERMEDIATE HOLDINGS II, INC.’s MOTION TO DISMISS

            I, Mark Premo-Hopkins, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of

  perjury the following to be true and correct:

            1.     I am an attorney licensed to practice law in the State of Illinois and have been

  admitted pro hac vice by this Court. I am also a partner of the law firm Kirkland & Ellis LLP, and

  one of the attorneys representing Defendants TPG Inc.; Osteon Holdings, Inc.; Osteon Merger

  Sub, Inc.; and Osteon Intermediate Holdings II, Inc. (collectively, “TPG”) in the above-captioned

  matter.

            2.     I submit this Declaration in support of TPG’s Notice of Motion to Dismiss and

  Motion to Dismiss and Memorandum in Support served via electronic mail on the individuals

  designated as Plaintiffs’ Co-Lead Counsel and Liaison Counsel (ECF Nos. 46, 269) pursuant to

  the Court’s Individual Rule V(B) and the Court’s May 19, 2023 Order.

            3.     Attached as Appendix A is a state-by-state choice-of-law analysis for cases against

  TPG that have been consolidated into the MDL as of June 6, 2023.
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         4.     Attached as Appendix B is a list of all cases against TPG that have been

  consolidated into the MDL as of June 6, 2023.

         5.     Attached as Exhibit 1 is a true and accurate copy of TPG Inc.’s Form 10-K for the

  fiscal year ending December 31, 2022 filed with the United States Securities and Exchange

  Commission (“SEC”).

         6.     Attached as Exhibit 2 is a true and accurate copy of the Agreement and Plan for

  Merger between Exactech, Inc., Osteon Holdings, L.P. (now Osteon Holdings, Inc.), and Osteon

  Merger Sub, Inc. that was referenced throughout Plaintiffs’ Amended Master Personal Injury

  Complaint (“Amended Complaint”) (ECF No. 164) and filed with the SEC as Exhibit 2.1 to

  Exactech, Inc.’s Form 8-K dated October 22, 2017.

         7.     Attached as Exhibit 3 is a true and accurate copy of the Rollover and Voting

  Agreement between Osteon Holdings, L.P. (now Osteon Holdings, Inc.) and certain Exactech, Inc.

  shareholders that was referenced throughout Plaintiffs’ Amended Complaint and filed with the

  SEC as Exhibit 99.2 to Exactech, Inc.’s Form 8-K dated October 22, 2017.

         8.     Attached as Exhibit 4 is a true and accurate copy of Exactech, Inc.’s January 16,

  2018 Proxy Statement that was referenced throughout Plaintiffs’ Amended Complaint and filed

  with the SEC as Exactech, Inc.’s Schedule 14A dated January 16, 2018.

         9.     Attached as Exhibit 5 is a true and accurate copy of the transcript for the May 19,

  2023 Pre-Motion Conference.




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  Dated:   Chicago, Illinois               KIRKLAND AND ELLIS LLP
           June 9, 2023

                                           By: /s/ Mark Premo-Hopkins

                                           Mark Premo-Hopkins (pro hac vice)
                                           KIRKLAND AND ELLIS LLP
                                           300 North LaSalle Street
                                           Chicago, Illinois 60654
                                           +1 (312) 862-2000
                                           +1 (312) 862-2200
                                           mark.premohopkins@kirkland.com

                                           Counsel for TPG Defendants




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                                      PROOF OF SERVICE

         I hereby certify that on June 9, 2023, I caused a copy of the Declaration of Mark Premo-

  Hopkins, P.C., In Support of Defendants TPG Inc.; Osteon Holdings, Inc.; Osteon Merger Sub,

  Inc.; and Osteon Intermediate Holdings II, Inc.’s Motion to Dismiss to be served via electronic

  mail on the individuals designated as Plaintiffs’ Co-Lead Counsel and Liaison Counsel (ECF

  Nos. 46, 269).


  Dated: June 9, 2023


                                                       /s/ Jay P. Lefkowitz
                                                       Jay P. Lefkowitz




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